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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 DERRICK JONES, JEROME JONES, and                           )
 DARNELL RUSAN                                              )
                                                            )
         Plaintiffs,                                        )
                                                            ) Cause No. 4:21-cv-600
         v.                                                 )
                                                            )
 CITY OF ST. LOUIS et al.,                                  )
                                                            )
         Defendants.                                        )

            MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 15(a)(2), Plaintiffs Derrick Jones, Jerome

Jones, and Darnell Rusan request leave to file their Second Amended Complaint. In support of

their motion, Plaintiffs state as follows:

       1.       On May 24, 2021, Plaintiffs filed their Complaint in this matter. Doc. 1. On June

21, 2021, Plaintiffs filed their First Amended Complaint, which corrected the names of several

Defendant officers. Doc. 9.

       2.       On September 14, 2021, the Court held a Rule 16 Conference during which the

parties proposed that the deadline for motions for joinder of additional parties or amendment of

pleadings be set at January 14, 2022. This deadline was codified in the initial Case Management

Order. Doc. 37.

       3.       On December 22, 2021, Plaintiffs filed a Motion to Compel production from

Defendants, relating to Plaintiff’s attempts to identify John Doe 1. Doc. 46, 47, and 59.

       4.       Due to these discovery disputes, Plaintiffs have had to twice request this Court

extend the deadlines in the Case Management Order. On March 3, 2022, this Court extended the

deadline to amend pleadings to April 14, 2022, the deadline to complete all fact discovery in this



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case to July 11, 2022, and the deadline to complete all expert discovery to September 29, 2022.

Doc. 68.

        5.     FED. R. CIV. P. 15(a)(2) provides “the court should freely give leave [to amend]

when justice so requires.” See Foman v. Davis, 371 U.S. 178, 182 (1962) (“Rule 15(a) declares

that leave to amend ‘shall be freely given when justice so requires’; this mandate is to be heeded.”).

        6.     In the proposed Second Amended Complaint (attached hereto as Exhibit 1) and

contemporaneously filed Motion for Class Certification, Plaintiffs seek to amend the allegations

previously brought as individual injunctive claims into class-wide causes of action. Plaintiffs also

seek to identify Bruce Borders and Sherry Richard as the John Doe 2 and Jane Doe Defendants;

voluntarily drop their claim against Defendant Lewis and amend certain facts for clarity and in

accordance with dropping claims against Defendant Lewis; add Marrell Withers as a named

plaintiff and representative for the putative class and proposed medical subclass; and add

Correctional Officers Willis and Jones as Defendants.

        7.      No party will be unduly prejudiced by the granting of this Motion. As explained in

the attached Memorandum in Support of Plaintiffs’ Motion to File a Second Amended Complaint,

due to Plaintiffs’ existing Monell claim, the scope of discovery in this claim will remain largely

the same. Further, the Second Amended Complaint will also not create delay or change the timeline

of this action. Plaintiffs are not currently seeking additional time for class discovery, and have

already sent comprehensive discovery requests.

        8.     Moreover, the changes encompassed in the Second Amended Complaint are

necessary for Plaintiffs to secure needed relief to address serious, widespread unconstitutional

harm.

        9.     This motion is made in good faith and not for purposes of delay.




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       WHEREFORE, Plaintiffs respectfully pray this Court enter an Order granting Plaintiffs

leave to file their Second Amended Complaint as attached hereto, and for such other and further

relief as this Court deems proper under the circumstances.


Dated: March 15, 2022                       Respectfully submitted,


                                            RODERICK & SOLANGE                 MACARTHUR
                                            JUSTICE CENTER

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